
976 A.2d 380 (2009)
200 N.J. 201
In the Matter of Thomas J. MORAN, Jr., an Attorney at Law.
D-149 September Term 2008
Supreme Court of New Jersey.
August 11, 2009.

ORDER
The Office of Attorney Ethics having filed with the Court a petition pursuant to Rule 1:20-11(a) seeking the immediate temporary suspension of THOMAS J. MORAN, JR., of NEWARK, who was admitted to the bar of this State in 2002, and good cause appearing;
It is ORDERED that THOMAS J. MORAN, JR., is temporarily suspended from the practice of law, effective immediately and until the further Order of this Court; and it is further
ORDERED that the Attorney Trustee appointed for the protection of the assets and files of the law practice of THOMAS J. MORAN, JR., shall make the appropriate disbursements from respondent's accounts to those clients and other persons who can be located and whose funds can be identified, and at the end of the trusteeship, the funds remaining, if any, shall be transferred to the Superior Court Trust Fund, where they shall remain restrained from disbursement pending the further Order of this Court, for good cause shown; and it is further
ORDERED that THOMAS J. MORAN, JR., be restrained and enjoined from practicing law during the period of his suspension; and it is further
ORDERED that THOMAS J. MORAN, JR., comply with Rule 1:20-20 dealing with suspended attorneys.
